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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

 IMPLICIT, LLC,                                    §
                                                   §
        Plaintiff,                                 §     CIVIL ACTION NO. 6:17-cv-182-JRG
                                                   §              (LEAD CASE)
 v.                                                §
                                                   §
 HUAWEI TECHNOLOGIES USA, INC., et al.             §          JURY TRIAL DEMANDED
                                                   §
     Defendants.                                   §
 IMPLICIT, LLC,                                    §
      Plaintiff,                                   §     CIVIL ACTION NO. 6:17-cv-336-JRG
                                                   §         (CONSOLIDATED CASE)
 v.                                                §
                                                   §
 PALO ALTO NETWORKS, INC.,                         §          JURY TRIAL DEMANDED
      Defendant.                                   §
                                                   §
                                                   §

  JOINT MOTION FOR EXTENSION OF TIME TO RESPOND TO DEFENDANT’S
  MOTION TO TRANSFER VENUE FOR TAKING VENUE-RELATED DISCOVERY

       Plaintiff Implicit, LLC (“Implicit”) and Defendant Palo Alto Networks, Inc. (“PAN”) file

this Joint Motion for Extension of Time to Respond to Defendant’s Motion to Transfer Venue

(“Motion to Transfer”) for Taking Venue-Related Discovery regarding facts concerning the

Motion to Transfer. This Motion is based on the following facts:

           1. PAN seeks to transfer this case to the United States District Court for the

Northern District of California under 28 U.S.C. § 1404(a). (Doc. 23).

           2. Implicit’s response to the Motion to Transfer is presently due on October 2, 2017.

           3. The parties have conferred regarding the scope and timing of discovery regarding

the Motion to Transfer.

           4. Having conferred, the parties have agreed, subject to the approval of the Court, to
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extend the time for Implicit to respond to PAN’s Motion to Transfer by 90 days, so that Implicit

may conduct discovery on venue-related issues relevant to its Response in Opposition to PAN’s

Motion to Transfer.

           5. The parties have further agreed that any Rule 30(b)(6) or other deposition

testimony taken of PAN or its employees during this time period will be limited to venue-related

topics. The parties agree that, to the extent Implicit seeks a second deposition on non-venue

issues later in this case of any deponent who gives such deposition testimony regarding venue-

related issues, PAN will not object to such a second deposition on the basis that the deponent has

already been deposed in this case.

           6. The parties have further agreed to meet and confer regarding extending the time

for PAN to submit its Reply in support of its Motion to Transfer, in the event that PAN believes

it needs to take venue-related discovery of Implicit relevant to its Reply.

           7. Implicit has agreed not to argue that the delay resulting from this extension of

time supports its opposition to PAN’s Motion to Transfer.

           8. Accordingly, good cause exists for the parties’ requested extension of time for

purposes of taking venue discovery. The parties seek the requested relief not for the purpose of

delay, but rather so that justice may be done.

       WHEREFORE Plaintiff Implicit, LLC and Defendant Palo Alto Networks, Inc.

respectfully seek an order enlarging the time for Implicit to respond to Defendant Palo Alto

Networks, Inc.’s Motion to Transfer Venue Pursuant to 28 U.S.C. § 1404(a) by 90 days, i.e.,

until December 31, 2017, for purposes of allowing Implicit to conduct venue-related discovery.

       A proposed order is submitted herewith.




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Dated: September 26, 2017                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document is being filed electronically in

compliance with Local Rule CV-5(a). As such, this document is being served on all counsel who

are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(V). Pursuant to

Federal Rule of Civil Procedure 5(d) and Local Rule CV-5(d) and (e), any counsel of record not

deemed to have consented to electronic service will be served with a true and correct copy of the

foregoing by email on this 26th day of September 2017.

                                            /s/ William E. Davis, III
                                            William E. Davis, III




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